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  17
                           UNITED STATES DISTRICT COURT
  18
                         CENTRAL DISTRICT OF CALIFORNIA
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  20
        THE REGENTS OF THE                       Case No. 2:19-cv-06570-PSG-RAOx
  21    UNIVERSITY OF CALIFORNIA,
                                                 Hon. Philip S. Gutierrez
  22               Plaintiff,
  23         vs.                                 JOINT STIPULATION OF
                                                 DISMISSAL
  24    WALMART INC.,
  25               Defendants.
  26
  27
  28        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties hereby


                                JOINT STIPULATION OF DISMISSAL
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   1   stipulate to dismissal with prejudice of this action in its entirety, with each party to
   2   bear its own attorney fees and costs.
   3
   4    Dated: August 25, 2023                 NIXON PEABODY LLP
   5
   6                                           By: /s/ Shawn G. Hansen
                                                  Shawn G. Hansen
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                                                  Attorneys for Plaintiff
   8                                              THE REGENTS OF THE
                                                  UNIVERSITY OF CALIFORNIA
   9
  10    Dated: August 25, 2023                 ALLEN & OVERY LLP
  11
  12                                           By: /s/ Bijal V. Vakil
  13                                              Bijal V. Vakil

  14                                              Attorneys for Defendants
                                                  WALMART INC.
  15
  16                             L.R. 5-4.3.4(a)(2)(i) Attestation
  17         Pursuant to L.R. 5-4.3.4, the filer of this document attests that all other
  18   signatories listed, on whose behalf the filing is submitted, concur in the filing’s
  19   content and have authorized the filing.
  20
  21                                           NIXON PEABODY LLP
  22
  23                                           By: /s/ Shawn G. Hansen
                                                  Shawn G. Hansen
  24
                                                   Attorneys for Plaintiff
  25                                               THE REGENTS OF THE UNIVERSITY
                                                   OF CALIFORNIA
  26
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                                                  -2-
                                JOINT STIPULATION OF DISMISSAL
